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                                                                                                 INVOICE
  #FMWFEFSF 3PBE 4UF                   3PZBM 1BMN #FBDI '- USA
                                                                                               DATE
                                                                                                      07/28/2016
4VJUF   /F The Center 99 Queen's Rd Central Hong Kong                                  REMARKS WN
         XXX++8-5%DPN |   



  Customer Name: FENG Yuanxiao
  Address:

  Tel:
  Client ID: SARC GH016_046



          Client ID                                                    Description                Amount in USD $

  SARC GH016_046                   EB5 Processing Legal Service Fee                                       15,000.00


                                   I-526 Filing Fee                                                        1,500.00




       Balance Paid:               Wire Paid (Ref No.                                ITDS)                16,500.00
  TOTAL
                                                                                                               0.00
  In words:
              Balance Paid In Full



  Hong Kong
  Bank information for payment of Indicated                        :
  Receiving Bank
                 Head Office 1 Queen's Road Central, Hong Kong
  SWIFT Code:         HKHHHKH Account Number:                 5-838


  Suite 7902, 79/F, The Center, 99 Queen's Rd Central, Hong Kong
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